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                                  UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                           Greenbelt Division


In re:                                         *

RUBEN PALAZZO,                                 *       Case No. 16-11319-TJC
                                                       Chapter 13
                   Debtor. *

*    *    *                 *       *    *     *       *      *      *         *   *     *
RUBEN PALAZZO,                                 *

                   Plaintiff,                  *
       vs.                                     *       Adversary Proceeding No.: 19-00203
BAYVIEW LOAN SERVICING LLC,                    *
et al.
                                    *
               Defendants
*         *    *     *    *    *    *   *   *    *    *    *   *
            DEFENDANTS COMMUNITY LOAN SERVICING LLC F/K/A BAYVIEW
         LOAN SERVICING LLC’S AND MANUFACTURERS AND TRADERS TRUST
             COMPANY’S PARTIAL MOTION FOR SUMMARY JUDGMENT

          Defendants, Community Loan Servicing LLC f/k/a Bayview Loan Servicing LLC

(“Bayview” or “CLS”) and Manufacturers and Traders Trust Company d/b/a M&T Bank

(“M&T”) (together “Defendants”), by and through its undersigned attorneys and pursuant to

Federal Rule of Civil Procedure 56, made applicable herein pursuant to Rule 7056 of the Federal

Rules of Bankruptcy Procedure, hereby files this motion for summary judgment, and in support

hereof, states as follows:

          1.       Defendants are entitled to summary judgment as a matter of law as there are no

material facts in dispute.

          2.       As further support for this Motion, the Defendants refer the Court to and

incorporates herein its Memorandum of Law in Support of Defendants’ Motion for Summary

Judgment.



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         WHEREFORE Community Loan Servicing LLC f/k/a Bayview Loan Servicing LLC and

Manufacturers and Traders Trust Company respectfully requests that this Court grant the

Defendants’ Motion for Summary Judgment, and for such other and further relief as this Court

deems just and proper.

Dated: October 12, 2021                        Respectfully submitted,


                                                     /s/ Patricia B. Jefferson
                                               Bradford Bernstein, Bar # 13811
                                               Patricia Jefferson, Fed. Bar No. 27668
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                                               Servicing LLC f/k/a Bayview Loan Servicing
                                               LLC and Manufactures and Traders Trust
                                               Company




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 12th day of October, 2021 a copy of the foregoing

Motion was served via this Court’s CM/ECF System upon:

Phillip R. Robinson, Esq.
Consumer Law Center LLC
8737 Colesville Road Suite 308
Silver Spring, MD 20910



                                                       /s/ Patricia B. Jefferson
                                                   Patricia B. Jefferson




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